Case 5:24-cv-00717-OLG-HJB   Document 77-3   Filed 04/09/25   Page 1 of 17




                             EXHIBIT 2
    Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 2 of 17
                                 Luciano Schipelliti
                                    March 18, 2025

· · · · · ·IN THE UNITED STATES DISTRICT COURT

· · · · · · FOR THE WESTERN DIVISION OF TEXAS

· · · · · · · · · ·SAN ANTONIO DIVISION

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· · · _____________________________
· · · · · · · · · · · · · · · · · ·)
· · · LOGAN PAUL,· · · · · · · · · )
· · · · · · · · · · · · · · · · · ·)
· · · · · · · ·Plaintiff,· · · · · )
· · · · · · · · · · · · · · · · · ·)· Case No.
· · · · · · · · · · · · vs.· · · · )· 5:24-CV-00717
· · · · · · · · · · · · · · · · · ·)
· · · STEPHEN FINDEISEN AND COFFEE )
· · · BREAK PRODUCTIONS LLC· · · · )
· · · D/B/A COFFEEZILLA,· · · · · ·)
· · · · · · · · · · · · · · · · · ·)
· · · · · · · ·Defendants.· · · · ·)
· · · _____________________________)

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· · · · · · · Deposition of:· LUCIANO SCHIPELLITI

· · · · · · · Pursuant to:· · Notice

· · · · · · · Date and Time:· Tuesday, March 18, 2025
· · · · · · · · · · · · · · · 10:00 a.m.
· · · · · · · Place:· · · · · Dinsmore & Shohl LLP
· · · · · · · · · · · · · · · 255 East Fifth Street
· · · · · · · · · · · · · · · Suite 1900
· · · · · · · · · · · · · · · Cincinnati, Ohio· 45202
· · · · · · · Reporter:· · · ·Kathy S. Simpson, RPR
· · · · · · · · · · · · · · · Notary Public - State of
· · · · · · · · · · · · · · · · Ohio

· · · · · · · Videographer:· ·Arthur Funk

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     Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 3 of 17
                                  Luciano Schipelliti
                                     March 18, 2025

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                                                                                    YVer1f
     Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 4 of 17
                                  Luciano Schipelliti
                                     March 18, 2025

·1· · APPEARANCES OF COUNSEL:

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19· · · · · · · Garrett Rethman, Esq., via videconference
· · · · · · · · Stephen Findeisen, via videoconference
20

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23· · · · · · · · · · · · - - -

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                   U.S. Legal Support | www.uslegalsupport.com                  3
                                                                                    YVer1f
     Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 5 of 17
                                  Luciano Schipelliti
                                     March 18, 2025

·1· · · · · · · · · · · I N D E X

·2

·3· · LUCIANO SCHIPELLITI· · · · · · · · · · · PAGE

·4· · · · ·EXAMINATION BY MR. PHILLIPS· · · · · ·7
· · · · · ·EXAMINATION BY MR. DAVIS· · · · · · 118
·5· · · · ·FURTHER EXAMINATION BY MR. PHILLIPS 418

·6

·7· · EXHIBITS· · · · · · · · · · ·MARKED· ·REFERENCED

·8· · EXHIBIT PX-1-LS· · · · · · · · 26· · · · ·26
· · · EXHIBIT PX-2-LS· · · · · · · · 41· · · · ·41
·9· · EXHIBIT PX-3-LS· · · · · · · · 43· · · · ·43
· · · EXHIBIT PX-4-LS· · · · · · · · 50· · · · ·50
10· · EXHIBIT PX-5-LS· · · · · · · · 54· · · · ·54
· · · EXHIBIT PX-6-LS· · · · · · · · 66· · · · ·66
11· · EXHIBIT PX-7-LS· · · · · · · · 73· · · · ·73
· · · EXHIBIT PX-8-LS· · · · · · · · 99· · · · ·99
12
· · · EXHIBIT D1· · · · · · · · · · 131· · · · 131
13· · EXHIBIT D2· · · · · · · · · · 136· · · · 136
· · · EXHIBIT D3· · · · · · · · · · 166· · · · 166
14· · EXHIBIT D4· · · · · · · · · · 265· · · · 265
· · · EXHIBIT D5· · · · · · · · · · 285· · · · 285
15· · EXHIBIT D6· · · · · · · · · · 289· · · · 289
· · · EXHIBIT D7· · · · · · · · · · 290· · · · 290
16· · EXHIBIT D8· · · · · · · · · · 292· · · · 292
· · · EXHIBIT D9· · · · · · · · · · 293· · · · 293
17· · EXHIBIT D10· · · · · · · · · ·295· · · · 295

18· · EXHIBIT D11· · · · · · · · · ·351· · · · 351
· · · EXHIBIT D12· · · · · · · · · ·340· · · · 340
19· · EXHIBIT D13· · · · · · · · · ·354· · · · 354
· · · EXHIBIT D14· · · · · · · · · ·361· · · · 361
20· · EXHIBIT D15· · · · · · · · · ·368· · · · 368
· · · EXHIBIT D16· · · · · · · · · ·372· · · · 372
21· · EXHIBIT D17· · · · · · · · · ·376· · · · 376
· · · EXHIBIT D18· · · · · · · · · ·380· · · · 380
22· · EXHIBIT D19· · · · · · · · · ·383· · · · 383
· · · EXHIBIT D20· · · · · · · · · ·387· · · · 387
23
· · · EXHIBIT D21· · · · · · · · · ·393· · · · 393
24

25· · · · · · · · · · · · - - -


                   U.S. Legal Support | www.uslegalsupport.com                  4
                                                                                    YVer1f
  Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 6 of 17
                               Luciano Schipelliti
                                  March 18, 2025

·1· · · · · was Logan that locked the people out, and

·2· · · · · it turns out what I'm hearing -- what I

·3· · · · · said today is that when all these people

·4· · · · · who got their tokens early on started

·5· · · · · dumping as the coin price was going up,

·6· · · · · like literally immediately following egg

·7· · · · · drop, Logan got upset that everybody was

·8· · · · · dumping on the project and that's why he

·9· · · · · -- which I'm assuming he tasked Eddie

10· · · · · with it at the time, because I think

11· · · · · Eddie was the one on the lead dev side,

12· · · · · even though he's not a developer.

13· · · · · · · ·So I think the actual instruction to

14· · · · · freeze those wallets came from Logan.

15· · · · · · · ·(Audio stopped.)

16· · BY MR. PHILLIPS:

17· · · · · Q.· ·Having listened to the first minute

18· · and a half or so of this audio file, can you

19· · identify it for us as a Discord call that you

20· · had with Mr. Findeisen on October 20, 2022?

21· · · · · A.· ·Yeah, I believe it was October 20.

22· · Yeah, this is accurate.

23· · · · · Q.· ·And did you make the recording?

24· · · · · A.· ·Yes, I did.

25· · · · · Q.· ·You said you believe it's accurate?


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                                                                                  YVer1f
  Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 7 of 17
                               Luciano Schipelliti
                                  March 18, 2025

·1· · · · · A.· ·Yes.

·2· · · · · Q.· ·I'm going to play a portion for you

·3· · that begins at 11:26, 11 minutes, 26 seconds,

·4· · just give me a moment.· This clip will be about

·5· · three minutes, three and a half minutes.

·6· · · · · · · ·(Audio recording played and transcribed

·7· · · · · · · ·as follows:)

·8· · · · · · · ·MR. SCHIPELLITI:· It was just nuts.

·9· · · · · · · ·MR. FINDEISEN:· That's so strange to

10· · · · · me that he would --

11· · · · · · · ·MR. SCHIPELLITI:· It makes no sense.

12· · · · · Like, dude, nothing -- bro, it's the

13· · · · · fucking weirdest thing.· Like I've worked

14· · · · · with tons of different business owners,

15· · · · · not tons of celebrities or anything, but

16· · · · · like -- like this was my first major --

17· · · · · like dealing with a celebrity agent-type

18· · · · · of situation.

19· · · · · · · ·Like, dude, all business owners that

20· · · · · I've ever talked with, very successful

21· · · · · people, nobody has ever been like Jeff

22· · · · · and, you know, that whole operation.

23· · · · · It's like they tried to be bad, like

24· · · · · that's how bad it is.· It's like you

25· · · · · don't just accidently become this bad.


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                                                                                  YVer1f
  Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 8 of 17
                               Luciano Schipelliti
                                  March 18, 2025

·1· · · · · It's like you have to actually try to

·2· · · · · make wrong choices.

·3· · · · · · · ·MR. FINDEISEN:· Yeah.

·4· · · · · · · ·MR. SCHIPELLITI:· Like every single

·5· · · · · thing for the past year, it was like

·6· · · · · every single thing, you'd have to try to

·7· · · · · make such a bad decision with, which

·8· · · · · makes no sense.

·9· · · · · · · ·MR. FINDEISEN:· Wow, wow.· I don't

10· · · · · get it, man.· I don't get why they did --

11· · · · · they did things this way.· It's so

12· · · · · strange.· Like the way they just ran

13· · · · · their whole business.

14· · · · · · · ·There's this real sense that I get,

15· · · · · tell me if you kind of agree, a sense of

16· · · · · incompetency where you go -- you know

17· · · · · what, part of it is like -- part of it I

18· · · · · think they, in their heads, want to have

19· · · · · good intentions but they take on so many

20· · · · · projects and so many different ideas, and

21· · · · · Logan is constantly saying so many

22· · · · · different things that they literally

23· · · · · can't do all of it.

24· · · · · · · ·And I think they end up dropping a

25· · · · · bunch of balls and hurting people, quite


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                                                                                  YVer1f
  Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 9 of 17
                               Luciano Schipelliti
                                  March 18, 2025

·1· · · · · frankly, because anytime you get into an

·2· · · · · investment vehicle, you can't drop the

·3· · · · · ball, that's the whole problem.· You

·4· · · · · can't just, you know, ask for investors

·5· · · · · into a company you're starting and then

·6· · · · · not take it seriously.

·7· · · · · · · ·MR. SCHIPELLITI:· Well, so -- and

·8· · · · · that's the biggest thing with this, and

·9· · · · · me and my partners have been saying this

10· · · · · ever since the very beginning, like since

11· · · · · April, before we were even working

12· · · · · officially for them, it was always -- we

13· · · · · always knew that, you know, at the

14· · · · · beginning, it was a belief because we

15· · · · · didn't know at that time.

16· · · · · · · ·But we had always believed that they

17· · · · · really did have good intentions, but we

18· · · · · always used the word incompetence.

19· · · · · They'd have to be so incompetent for

20· · · · · this, they're incompetent.· Like it was

21· · · · · always the incompetence.

22· · · · · · · ·And even up until right now, like I

23· · · · · truly believed that Jeff really meant to

24· · · · · do well with the project, same with

25· · · · · Logan.· You could hear it in Logan's


                U.S. Legal Support | www.uslegalsupport.com                  78
                                                                                  YVer1f
  Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 10 of 17
                               Luciano Schipelliti
                                  March 18, 2025

·1· · · · · voice in that -- I think it was the only

·2· · · · · AMA that he had back in like the first

·3· · · · · week of October last year, you can hear

·4· · · · · in his voice that he really wants this

·5· · · · · project to be successful --

·6· · · · · · · ·MR. FINDEISEN:· Sure --

·7· · · · · · · ·MR. SCHIPELLITI:· -- and onboard

·8· · · · · people and dot our T's.· You know, all

·9· · · · · that stuff that a lot of people probably

10· · · · · think is just him trying to hype people

11· · · · · up to do cash grab.· I never think that

12· · · · · that's what it was about.

13· · · · · · · ·I think that they just meant well

14· · · · · but had the wrong team working for them

15· · · · · at the beginning.· And then, I think they

16· · · · · were just in the constant rat race of

17· · · · · trying to Band-Aid everything up.· And,

18· · · · · you know, they had Vatom who was working

19· · · · · off of bad smart contracts that were

20· · · · · written with no future skill ability in

21· · · · · mind.

22· · · · · · · ·So it was like instead of someone

23· · · · · going in and just saying, you know what,

24· · · · · this system is fucked, we have to rebuild

25· · · · · from the start and that is just what it's


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                                                                                   YVer1f
  Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 11 of 17
                               Luciano Schipelliti
                                  March 18, 2025

·1· · · · · going to take to have a successful

·2· · · · · project.· Everybody in it kept trying to,

·3· · · · · you know, toss an extra Band-Aid on the

·4· · · · · wound.

·5· · · · · · · ·(Audio stopped.)

·6· · BY MR. PHILLIPS:

·7· · · · · Q.· ·I'll stop the audio there at

·8· · 14 minutes and 53 seconds.

·9· · · · · · · ·In the clip that we just heard from

10· · this October 20th, 2022 call between you and

11· · Mr. Findeisen, did Mr. Findeisen express to you

12· · the view that there's a sense of incompetency

13· · on the part of Mr. Paul and Mr. Levin?

14· · · · · · · ·MR. DAVIS:· Objection, leading.

15· · · · · Objection, form.

16· · · · · A.· ·Yes, that's correct.

17· · BY MR. PHILLIPS:

18· · · · · Q.· ·Did Mr. Findeisen convey to you that

19· · he believed that Mr. Levin and Mr. Paul had

20· · good intentions but that they take on too many

21· · projects and can't do all of them?

22· · · · · · · ·MR. DAVIS:· Objection, leading.

23· · · · · Objection, form.

24· · · · · A.· ·Yes, that's correct.

25· · BY MR. PHILLIPS:


                 U.S. Legal Support | www.uslegalsupport.com                  80
                                                                                   YVer1f
  Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 12 of 17
                               Luciano Schipelliti
                                  March 18, 2025

·1· · · · · Q.· ·When Mr. Findeisen spoke of having a

·2· · sense of incompetency, did you understand him

·3· · to be referring to Mr. Paul and Mr. Levin's

·4· · stewardship of the CryptoZoo project?

·5· · · · · · · ·MR. DAVIS:· Objection, form.

·6· · · · · Objection, leading.

·7· · · · · A.· ·When you say stewardship, you just

·8· · mean like them as like leaders?· Yes, that's

·9· · correct.

10· · BY MR. PHILLIPS:

11· · · · · Q.· ·Did you convey to Mr. Findeisen that

12· · you agreed with that assessment based on your

13· · personal experience with the CryptoZoo project?

14· · · · · · · ·MR. DAVIS:· Objection, leading.

15· · · · · Objection, form.

16· · · · · A.· ·Yes, that's correct.

17· · BY MR. PHILLIPS:

18· · · · · Q.· ·In the clip that we just heard from

19· · this October 20, 2022 discussion, did you tell

20· · Mr. Findeisen that you and your partners always

21· · knew that Mr. Paul and Mr. Levin had good

22· · intentions for the CryptoZoo project?

23· · · · · · · ·MR. DAVIS:· Objection, leading.

24· · · · · Objection, form.

25· · · · · A.· ·Yes, that's correct.


                 U.S. Legal Support | www.uslegalsupport.com                  81
                                                                                   YVer1f
  Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 13 of 17
                               Luciano Schipelliti
                                  March 18, 2025

·1· · BY MR. PHILLIPS:

·2· · · · · Q.· ·Did you further convey to

·3· · Mr. Findeisen that the issues the project faced

·4· · under their stewardship were a result of

·5· · incompetence rather than any ill intent?

·6· · · · · · · ·MR. DAVIS:· Objection, leading.

·7· · · · · Objection, form.

·8· · · · · A.· ·That's correct.

·9· · BY MR. PHILLIPS:

10· · · · · Q.· ·Did you repeat again to

11· · Mr. Findeisen that you truly believed that

12· · Mr. Levin and Mr. Paul meant to do well with

13· · the CryptoZoo project?

14· · · · · · · ·MR. DAVIS:· Objection, leading.

15· · · · · Objection, form.

16· · · · · A.· ·That's correct.

17· · BY MR. PHILLIPS:

18· · · · · Q.· ·Did Mr. Findeisen dispute that

19· · assessment --

20· · · · · · · ·MR. DAVIS:· Objection, form.

21· · BY MR. PHILLIPS:

22· · · · · Q.· ·-- in his conversations with you?

23· · · · · · · ·MR. DAVIS:· Same objection, form.

24· · · · · A.· ·In any conversations?

25· · BY MR. PHILLIPS:


                 U.S. Legal Support | www.uslegalsupport.com                  82
                                                                                   YVer1f
  Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 14 of 17
                               Luciano Schipelliti
                                  March 18, 2025

·1· · · · · Q.· ·Yes.

·2· · · · · A.· ·I believe there were times.

·3· · · · · Q.· ·Okay.· Tell me about that.

·4· · · · · · · ·MR. DAVIS:· Objection, form.

·5· · · · · A.· ·I don't remember the specific

·6· · moments in the conversation, but I just

·7· · remember there were a lot of times in my

·8· · conversations with him where he -- I almost

·9· · felt pressured to -- trying to think of the

10· · right way to put it.· It was almost like he

11· · really -- he needed someone to point the finger

12· · at, and I feel like he really wanted to point

13· · the finger at Jeff and Logan but, ultimately --

14· · yeah, I just don't know where exactly in the

15· · conversations those are.

16· · · · · · · ·MR. DAVIS:· Objection,

17· · · · · nonresponsive.

18· · BY MR. PHILLIPS:

19· · · · · Q.· ·And you that said you felt pressured

20· · by those conversations with Mr. Findeisen.

21· · · · · · · ·Can you tell me what you meant by

22· · that?

23· · · · · · · ·MR. DAVIS:· Objection, form.

24· · · · · A.· ·If I recall correctly, there were

25· · certain times in the conversations where he


                 U.S. Legal Support | www.uslegalsupport.com                  83
                                                                                   YVer1f
  Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 15 of 17
                               Luciano Schipelliti
                                  March 18, 2025

·1· · would say something to me along the lines of --

·2· · along the lines of like painting Logan as the

·3· · villain, in other words, and then, like, would

·4· · you agree with this?· Or, oh, you've got to

·5· · agree with this, like, you know, rhetorically

·6· · speaking.· And then I would have to go back and

·7· · basically challenge it.· And say like, no, I

·8· · don't believe that, or whatever it was that I

·9· · didn't believe.

10· · BY MR. PHILLIPS:

11· · · · · Q.· ·So did you feel that he was pushing

12· · you to portray Mr. Paul as a villain?

13· · · · · · · ·MR. DAVIS:· Objection, leading.

14· · · · · Objection, form.

15· · · · · A.· ·I don't know if it was intentionally

16· · pushing me.· I would say the better way to put

17· · it is that he wanted -- he was trying to seek

18· · that from me.· I didn't feel like he was trying

19· · to get me to lie or answer it that way.

20· · BY MR. PHILLIPS:

21· · · · · Q.· ·In your discussions with

22· · Mr. Findeisen, did you feel that he had a

23· · preconceived narrative when it came to how he

24· · wanted to portray Mr. Paul?

25· · · · · · · ·MR. DAVIS:· Objection, form.


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                                                                                   YVer1f
  Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 16 of 17
                               Luciano Schipelliti
                                  March 18, 2025

·1· · · · · Objection, leading.

·2· · · · · A.· ·Yeah, I would agree with that, and I

·3· · think that all of the times in the conversation

·4· · where I had mentioned that, you know, I don't

·5· · think Logan and Jeff had any bad intent,

·6· · they're just incompetent, a lot of my reasons

·7· · for saying it that many times that I did was

·8· · because I didn't -- I didn't want that to be

·9· · like the highlight of this.· I wanted the

10· · highlight to be truth of it, which is, you

11· · know, figuring out what's going on with Eddie,

12· · what is going on all the other things.            I

13· · didn't want him to twist my words.

14· · · · · · · ·MR. DAVIS:· Objection,

15· · · · · nonresponsive.

16· · BY MR. PHILLIPS:

17· · · · · Q.· ·In the clip we just heard from the

18· · October 20, 2022 call, you made reference to a

19· · rat race of trying to Band-Aid everything up.

20· · Do you recall that?

21· · · · · A.· ·I do recall that.

22· · · · · Q.· ·Can you explain what you meant by

23· · that?

24· · · · · A.· ·Yeah, so the Band-Aid up part, I

25· · would say it's just like all the previous


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     Case 5:24-cv-00717-OLG-HJB   Document 77-3 Filed 04/09/25   Page 17 of 17
                                  Luciano Schipelliti
                                     March 18, 2025

·1· · · · · · · · C E R T I F I C A T E

·2
· · · STATE OF OHIO· · · ·:
·3· · · · · · · · · · · · :· SS
· · · COUNTY OF CLERMONT :
·4

·5· · · · · · · · ·I, Kathy S. Simpson, RPR, the

·6· · undersigned, a duly qualified and commissioned notary

·7· · public within and for the State of Ohio, do certify

·8· · that before the giving of his deposition, LUCIANO

·9· · SCHIPELLITI, was by me first duly sworn to depose the

10· · truth, the whole truth and nothing but the truth;

11· · that the foregoing is the deposition given at said

12· · time and place by LUCIANO SCHIPELLITI; that I am

13· · neither a relative of nor employee of any of the

14· · parties or their counsel, and have no interest

15· · whatever in the result of the action.

16· · · · · · IN WITNESS WHEREOF, I hereunto set my hand

17· · and official seal of office at Cincinnati, Ohio, this

18· · 28th day of March, 2025.

19

20
· · · · · · ·_________________________________
21· · · · · · Kathy S. Simpson, RPR
· · · · · · · Notary Public - State of Ohio
22· · · · · · My commission expires March 21, 2027

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